  Case 20-68775-pmb           Doc 14         Filed 08/11/20 Entered 08/11/20 11:13:47                        Desc Main
                                             Document     Page 1 of 3
                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT .OF GEORGIA
                                     ATLANTA DIVISION
IN.RE:                                                          Case No.:                      3 -1-1c-
     .7t.:21FfieCY
      1            .             .
                       5/2./ZkZ.z_    27..e.411 ,61-   e

                                                                Chapter:
               Debtor(s)

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Dated:                                   Signature:



                                         Printed Name:              4 z-    rfte-%-r                 L Z/L.4                        tsa 4



                                         Address:
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                                         Phone:                             51     31              coU?
          Case 20-68775-pmb                      Doc 14    Filed 08/11/20 Entered 08/11/20 11:13:47                          Desc Main
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                                       UNITED STALES BANKRURTCYCOURT

                                            NORTHERN DISTRICT OF GEORGIA

                                                      ATLANTA DIVISION


IN RE:     de•OFFkry                             Z/Lec,e4a01c, Case No:        at) -
                                                                Chapter              3

               Debtor(s)

                                                       CERTIFICATE OF SERVICE

                                                              ••
  I, the undersigned, herebY certify under penalty of perjury that i am, and at all times hereinafter
mentioned, was more than 18 year of age, and that on the // day of A viuq- , MOD I served a copy of
                        etf. —%.1 C.) f••    .                  Ai- (1           lv             C,Lett/-
which was filed in this bankruptcy matter 'on the (0 day of                 kJ-)vct.          , 20 ,3t.   •       .


                                                                                 •                   •

Mode of service (check one):                          OMAILED                        GKAND DELIVERED

Name and Address of each party served (If necessary, you may attach a list.): .
                        Rif IA'      so-ritcs A ILA                         NC



 I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
                                                                 •



 Dated:           / t             )                         •    Signature:'

                                                                 Printed Name:           .4   ;1z4r-ri2bi
                                                                 Address:                     '-7(            ay,     br,


                                                                                                              -         d3
                                                                ' Phone:

 (Generic Certificate of SerVice — Revised 4/1.3)'
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01262649 (RS) OF 08/11/2020


ITEM     CODE   CASE             QUANTITY                     AMOUNT   BY

   1      137   20-68775              1                      $ 25.00   Currency
                Judge - Paul M. Baisier
                Debtor - GEOFFREY FARRELL ZILBERBERG


TOTAL:                                                       $ 25.00

Amount Tendered:                                             $ 30.00
Change Returned:                                              $ 5.00


FROM: Geoffrey Farrell Zilberberg
      971 Davis Drive
      Atlanta, GA 30327




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